65 F.3d 33
    In re ABBOTT LABORATORIES, Bristol-Meyers Squibb Company,Inc., and Mead Johnson &amp; Company, Petitioners.Robin FREE and Renee Free, Plaintiffs-Appellees,v.ABBOTT LABORATORIES, Bristol-Meyers Squibb Company, Inc.,and Mead Johnson &amp; Company, Defendants-Appellants.
    Nos. 94-30279, 94-30280.
    United States Court of Appeals,Fifth Circuit.
    Sept. 1, 1995.
    
      William R. D'Armond, Kean, Miller, Hawthorne, D'Armond, McCowan &amp; Jarman, Baton Rouge, LA, for Abbott.
      Phillip A. Wittmann, John M. Landis, Stone, Pigman, Walther, Wittmann &amp; Hutchinson, New Orleans, LA, Douglas D. Broadwater, Max R. Shulman, Cravath, Swaine &amp; Moore, New York City, for Bristol-Meyers and Mead Johnson &amp; Co.
      Patrick W. Pendley, Plaquemine, LA, Daniel E. Gustafson, Heins Mills &amp; Olsen, Minneapolis, MN, Daniel A. Small, Cohen, Milstein, Hausfeld &amp; Toll, Washington, DC, for appellees.
      Appeals from the United States District Court for the Middle District of Louisiana;  John V. Parker, Judge.
      ON SUGGESTIONS FOR REHEARING EN BANC
      (Opinion 4/24/95, 5 Cir., 51 F.3d 524)
      Before HIGGINBOTHAM, SMITH and PARKER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Treating the Suggestions for Rehearing En Banc as Petitions for Panel Rehearing, the Petitions for Panel Rehearing are DENIED.  No member of the panel nor Judge in regular active service of the Court having requested that the Court be polled on rehearing en banc (FRAP and Local Rule 35), the Suggestions for Rehearing En Banc are DENIED.
    
    
      2
      We express no opinion regarding class certification or the exercise by the district court of discretion under 28 U.S.C. Sec. 1367 to decline supplemental jurisdiction should a more well developed record warrant its doing so.  We decline to further explore now on this record the complexities of declining to exercise jurisdiction under Sec. 1367.
    
    